

Matter of De Luca (2021 NY Slip Op 03901)





Matter of De Luca


2021 NY Slip Op 03901


Decided on June 17, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 17, 2021

PM-87-21
[*1]In the Matter of Caroline Emille De Luca, an Attorney. (Attorney Registration No. 5341433.)

Calendar Date:June 14, 2021

Before:Garry, P.J., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ.

Caroline Emille De Luca, Boston, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Caroline Emille De Luca was admitted to practice by this Court in 2015 and lists a business address in Natick, Massachusetts with the Office of Court Administration. De Luca now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose De Luca's application.
Upon reading De Luca's affidavit sworn to April 27, 2021 and filed May 3, 2021, and upon reading the May 25, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that De Luca is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Caroline Emille De Luca's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Caroline Emille De Luca's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Caroline Emille De Luca is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and De Luca is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Caroline Emille De Luca shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








